      Case 3:16-md-02741-VC Document 18178 Filed 04/08/24 Page 1 of 2



 1 WILKINSON STEKLOFF LLP              COVINGTON & BURLING LLP
   Brian L. Stekloff (pro hac vice)    Michael X. Imbroscio (pro hac vice)
 2 (bstekloff@wilkinsonstekloff.com)   (mimbroscio@cov.com)
 3 Rakesh Kilaru (pro hac vice)        One City Center
   (rkilaru@wilkinsonstekloff.com)     850 10th St. NW
 4 2001 M St. NW                       Washington, DC 20001
   10th Floor                          Tel: 202-662-6000
 5 Washington, DC 20036
 6 Tel: 202-847-4030                   BRYAN CAVE LEIGHTON PAISNER LLP
   Fax: 202-847-4005                   K. Lee Marshall (CA Bar No. 277092)
 7                                     (klmarshall@bclplaw.com)
   HOLLINGSWORTH LLP                   Three Embarcadero Center, 7th Floor
 8 Eric G. Lasker (pro hac vice)       San Francisco, CA 94111
   (elasker@hollingsworthllp.com)      Tel: 415-675-3400
 9 1350 I St. NW                       Fax: 415-675-3434
10 Washington, DC 20005
   Tel: 202-898-5843                   Jed P. White (CA Bar No. 232339)
11 Fax: 202-682-1639                   (jed.white@bclplaw.com)
                                       120 Broadway, Suite 300
12                                     Santa Monica, CA 90401
13                                     Tel: 310-576-2100
                                       Fax: 310-576-2200
14
   Attorneys for Defendant Monsanto
15 Company
16                       UNITED STATES DISTRICT COURT
17                    NORTHERN DISTRICT OF CALIFORNIA
18 IN RE: ROUNDUP PRODUCTS               MDL No. 2741
19 LIABILITY LITIGATION,                 Case No. 3:16-md-02741-VC
20
   Edilia Gonzalez, et al.,              NOTICE OF WITHDRAWAL OF
21 3:19-cv-08225-VC                      MOTION FOR SUMMARY JUDGMENT
                                         ON CAUSATION GROUNDS
22
23
24
25
26
27
28

            NOTICE OF WITHDRAWAL OF MONSANTO’S MOTION FOR SUMMARY JUDGMENT
      Case 3:16-md-02741-VC Document 18178 Filed 04/08/24 Page 2 of 2



 1        TO THE COURT, ALL PARTIES, AND THEIR ATTORNEYS OF
 2 RECORD: Defendant Monsanto Company (the “Defendant”) hereby withdraws its
 3 Motion for Summary Judgment on Causation Grounds filed on April 5, 2024.
 4 Dated: April 8, 2024                    Respectfully submitted,
 5
                                           /s/ Jed P. White
 6                                             Jed P. White
 7                                         Attorney for Defendant Monsanto Company

 8                            CERTIFICATE OF SERVICE
 9        I hereby certify that on April 8, 2024, I electronically filed the foregoing with
10 the Clerk of the Court by using the CM/ECF system which will send a notice of
11 electronic filing (NEF) to all counsel of record who are CM/ECF participants.
12                                         /s/ Jed P. White
                                           Jed P. White
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                               1
                         MONSANTO’S MOTION FOR SUMMARY JUDGMENT
